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                 United States Court of Appeals
                             FOR THE DISTRICT OF COLUMBIA CIRCUIT
                                      ____________


No. 24-5065                                                 September Term, 2024
                                                                        1:22-cv-00818-CJN
                                                   Filed On: February 10, 2025 [2099913]
William Skewes-Cox,

              Appellant

       v.

Georgetown University Law Center and
Department of Education Office for Civil
Rights,

              Appellees

       BEFORE:       Katsas, Rao, and Garcia, Circuit Judges

                                         ORDER

        Upon consideration of pro se appellant’s motion for leave to file the reply brief
out of time, and the lodged reply brief, it is

       ORDERED that the motion be granted. The Clerk is directed to file the lodged
reply brief.

                                        Per Curiam

                                                          FOR THE COURT:
                                                          Clifton B. Cislak, Clerk

                                                  BY:     /s/
                                                          Michael C. McGrail
                                                          Deputy Clerk
